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17                              UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                  SAN FRANCISCO DIVISION
20
      IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
21    ANTITRUST LITIGATION
                                                   DECLARATION OF DANE P. SHIKMAN
22    THIS DOCUMENT RELATES TO:                    IN SUPPORT OF GOOGLE’S
                                                   OBJECTIONS TO EPIC’S PROPOSED
23
      Epic Games Inc. v. Google LLC et al., Case   INJUNCTION
24    No. 3:20-cv-05671-JD
                                                   Judge: Hon. James Donato
25

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     51884330.3
     SHIKMAN DECLARATION IN SUPPORT OF GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
       Case 3:20-cv-05671-JD Document 656-12 Filed 05/02/24 Page 2 of 5




 1                              DECLARATION OF DANE P. SHIKMAN
 2            I, Dane P. Shikman, hereby declare:

 3            1.     I am an attorney at the law firm of Munger, Tolles & Olson LLP and counsel of

 4 record for Defendants in the above-captioned matter. I have personal knowledge of the facts set

 5 forth in this declaration, and, if called as a witness, I could and would testify competently to the

 6 matters set forth herein.

 7            2.     Attached hereto as Exhibit 1 is a true and correct copy of a PDF download of the
 8 following webpage: Clare Stouffer, Bloatware: What it is + how to spot and remove it, Norton

 9 (Nov. 28, 2022), https://us.norton.com/blog/online-scams/bloatware. The PDF was downloaded

10 on April 29, 2024.

11            3.     Attached hereto as Exhibit 2 is a true and correct copy of a PDF download of the
12 following webpage: Cybersecurity & Infrastructure Sec. Agency, CISA, Privacy and Mobile

13 Device Apps (Dec. 18, 2022), https://www.cisa.gov/news-events/news/privacy-and-mobile-

14 device-apps. The PDF was downloaded on April 29, 2024.

15            4.     Attached hereto as Exhibit 3 is a true and correct copy of a PDF download of the
16 following webpage: Off. of Atty. Gen., Cal. Dep’t of Justice, Protect Your Computer from

17 Viruses, Hackers, and Spies, https://oag.ca.gov/privacy/facts/online-privacy/protect-your-

18 computer. The PDF was downloaded on April 29, 2024.
19            5.     Attached hereto as Exhibit 4 is a true and correct copy of an excerpt from the
20 deposition transcript of James Mickens, PhD, who was deposed in this litigation on March 22,

21 2023.

22            6.     Attached hereto as Exhibit 5 is a true and correct copy of a PDF download of the
23 following webpage: Frequently Asked Questions (FAQs), Unreal Engine, https://www.

24 unrealengine.com/en-US/faq (last visited May 1, 2024). The PDF was downloaded on April 29,

25 2024.

26            7.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the
27 deposition transcript of Paul Bankhead, who was deposed in this litigation on May 11, 2022.

28            8.     Exhibit 7 – Intentionally Left Blank .
     51884330.3                                       -1-
     SHIKMAN DECLARATION IN SUPPORT OF GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
       Case 3:20-cv-05671-JD Document 656-12 Filed 05/02/24 Page 3 of 5




 1            9.    Attached hereto as Exhibit 8 is a true and correct copy of a PDF download of the
 2 following webpage: Google Play Developer Distribution Agreement (“DDA”), https://play.

 3 google/developer-distribution-agreement.html. The PDF was downloaded on April 30, 2024.

 4            10.   Attached hereto as Exhibit 9 is a true and correct copy of a PDF download of the
 5 following Twitter page: Epic Games Store (@EpicGames), Twitter (Mar. 20, 2024 10:21 AM),

 6 https://twitter.com/EpicGames/status/1770500825166545305. The PDF was downloaded on April

 7 29, 2024.

 8            11.   Attached hereto as Exhibit 10 is a true and correct copy of a PDF download of the
 9 following webpage: Rachel Gamarski, Dina Bass and Cecilia D’Anastasio, Xbox Talking to

10 Partners for Mobile Store, CEO Spencer Says, BNN Bloomberg (Nov. 30, 2023), https://www.

11 bnnbloomberg.ca/xbox-talking-to-partners-for-mobile-store-ceo-spencer-says-1.2005610. The

12 PDF was downloaded on April 29, 2024.

13            12.   Attached hereto as Exhibit 11 is a true and correct copy of a PDF download of the
14 following webpage: Alex Heath, Meta is planning to let people in the EU download apps through

15 Facebook, The Verge, (June 29, 2023 2:03 PM), https://www.theverge.com/2023/6/29/23778928/

16 meta-eu-facebook-plans-app-install-android-ads. The PDF was downloaded on April 29, 2024.

17            13.   Attached hereto as Exhibit 12 is a true and correct copy of a PDF download of the
18 following webpage: Joint Advisory on Malware Scams Affecting Android Users issued by
19 Singapore Police Force and Cyber Security Agency of Singapore, https://www.police.gov.sg/

20 media-room/news/20230815_joint_advisory_on_malware_scams_affecting_android_users. The

21 PDF was downloaded on May 2, 2024.

22            14.   Attached hereto as Exhibit 13 is a true and correct copy of a PDF download of the
23 following webpage: The Fortnite Team, Announcing Epic Direct Payment on Mobile, Epic

24 Games (Aug.13, 2020), https://www.epicgames.com/fortnite/en-US/news/announcing-epic-direct-

25 payment-on-mobile. The PDF was downloaded on April 29, 2024.

26            15.   Attached hereto as Exhibit 14 is a true and correct copy of an excerpt from the
27 Reply Expert Report of Steven Tadelis, which was served on December 23, 2022.

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     SHIKMAN DECLARATION IN SUPPORT OF GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
       Case 3:20-cv-05671-JD Document 656-12 Filed 05/02/24 Page 4 of 5




 1            16.   Attached hereto as Exhibit 15 is a true and correct copy of a PDF download of the
 2 following webpage: Fed. Trade Comm’n, How to Recognize and Avoid Phishing Scams (Sept.

 3 2022), https://consumer.ftc.gov/articles/how-recognize-and-avoid-phishing-scams. The PDF was

 4 downloaded on April 29, 2024.

 5            17.   Attached hereto as Exhibit 16 is a true and correct copy of the Complaint, Decision
 6 and Order in In re Epic Games, Inc., FTC Docket No. C-4790 (Mar. 13, 2023, https://www.ftc.

 7 gov/system/files/ftc_gov/pdf/1923203epicgamesfinalconsent.pdf. The PDF was downloaded on

 8 April 29, 2024.

 9            18.   Attached hereto as Exhibit 17 is a true and correct copy of a PDF download of the
10 following webpage: Play Console Help, Enrolling in the user choice billing pilot,

11 https://support.google.com/googleplay/android-developer/answer/12570971?hl=en&ref_topic=

12 3452890&sjid=962272976662676777-NC. The PDF was downloaded on May 1, 2024.

13            19.   Attached hereto as Exhibit 18 is a true and correct copy of a PDF download of the
14 following webpage: PCI Sec. Standards Counsil, PCI DSS v.4.0 Quick Reference Guide,

15 https://docs-prv.pcisecuritystandards.org/PCI%20DSS/Supporting%20Document/PCI_DSS-QRG-

16 v4_0.pdf. The PDF was downloaded on May 1, 2024.

17            20.   Attached hereto as Exhibit 19 is a true and correct copy of Attachments B-1
18 through B-5 from the Expert Report of Steven Schwartz, Ph.D., which was served on October 3,
19 2022.

20            21.   Attached hereto as Exhibit 20 is a true and correct copy of a document produced
21 by Google in this litigation bearing the Bates range GOOG-PLAY-003604574 to GOOG-PLAY-

22 003604591.

23            22.   Attached hereto as Exhibit 21 is a true and correct copy of a document produced
24 by Google in this litigation bearing the Bates range GOOG-PLAY-001507814 to GOOG-PLAY-

25 00150833.

26            23.   Attached hereto as Exhibit 22 is a true and correct copy of excerpts from the
27 Expert Report of Zhiyun Qian, Ph.D., which was served on November 18, 2022.

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     SHIKMAN DECLARATION IN SUPPORT OF GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
       Case 3:20-cv-05671-JD Document 656-12 Filed 05/02/24 Page 5 of 5




 1            24.    Attached hereto as Exhibit 23 is a true and correct copy of excerpts from the trial
 2 testimony of Steven Allison in Epic Games, Inc. v. Apple, Inc., No. C-20-5640-YGR (N.D. Cal.),

 3 on May 7, 2021.

 4

 5            I declare under penalty of perjury under the laws of the United States of America that the

 6 foregoing is true and correct.

 7            Executed on this 2nd day of May 2024, in San Francisco, California.

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                                                        Dane P. Shikman
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     SHIKMAN DECLARATION IN SUPPORT OF GOOGLE’S OBJECTIONS TO EPIC’S PROPOSED INJUNCTION
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
